           Case 14-33804-mvl7                       Doc 124       Filed 04/26/22 Entered 04/26/22 11:05:48                                          Desc Main
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                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                      Page:      1
                                                                   ASSET CASES
Case No:            14-33804         BJH    Judge: Barbara J. Houser                                     Trustee Name: James W. Cunningham, Trustee
Case Name:          NAVARRO ORTHODONTIX OF EDINBURG, PL                                                  Date Filed (f) or Converted (c):   10/20/15 (c)
                                                                                                         341(a) Meeting Date:               11/17/15
 For Period Ending: 04/26/22
                                                                                                         Claims Bar Date:                   05/06/16


                                 1                                         2                         3                 4               5                        6
                                                                                            Estimated Net Value
                                                                                             (Value Determined      Property                               Asset Fully
                                                                        Petition/             by Trustee, Less      Formally       Sale/Funds          Administered (FA)/
                         Asset Description                             Unscheduled           Liens, Exemptions,    Abandoned       Received by      Gross Value of Remaining
              (Scheduled and Unscheduled (u) Property)                   Values               and Other Costs)     OA=554(a)        the Estate               Assets

 1. Commercial Bldg - 2511 Cornerstone Blvd Edinburg                       491,645.00                       0.00                             0.00              FA
    - Bk of America lift stay order 11/24/14 docket #60
 2. Checking Accounts                                                          1,643.34                     0.00                             0.00              FA
    - Debtor amended 11/24/15 to $1,643.34
     - Per 10/22/15 letter from WF and debtor's MOR
       filed 11/20/2015 at docket #88, all accounts
       drawn down to 0.01 at time of conversion to ch 7
 3. AR - Cash basis estimate                                                         0.00                   0.00                             0.00              FA
    - originally valued at $50,000
     - debtor amended to zero per 11/24/15 amended schedules
 4. AR - Navarro Orthodontix PC                                                      0.00                   0.00                             0.00              FA
    - originally scheduled at $534,678.27
    - Navarro Orthodontix PC in ch 11 at
      Case #14-32499-bjh-11
    - debtor amended to zero per 11/24/15 amended schedules
 5. AR - Navarro Orthodontix of FW PLLC                                              0.00                   0.00                             0.00              FA
    - Originally scheduled at $172,761.10
    - Navarro Orthodontix of FW in ch 7 at
      Case # 15-31369-bjh-7
    - debtor amended to zero per 11/24/15 amended schedules
 6. AR - Navarro Orthodontix of Irving PC                                            0.00                   0.00                             0.00              FA
    - Originally scheduled at $95,773.67
    - Navarro Orthodontix of Irving in ch 11 at
      Case15-31370-bjh-11
    - debtor amended to zero per 11/24/15 amended schedules
 7. AR - Ventura Laboratories                                                        0.00                   0.00                             0.00              FA
    - Originally scheduled at $34,652.00
    - debtor amended to zero per 11/24/15 amended schedules
 8. AR - Carlos F. Navarro                                                           0.00                   0.00                             0.00              FA
    - Originally scheduled at $139,860.93
    - debtor amended to zero per 11/24/15 amended schedules
 9. AR - Marco A. Navarro                                                            0.00                   0.00                             0.00              FA
    - Originally scheduled at $110,017.32
    - debtor amended to zero per 11/24/15 amended schedules
 10. Office Equipment                                                      184,335.79                       0.00                             0.00              FA
    - Bk of America lift stay order 11/24/14 docket #60
 11. Machiniery and Equipment                                              119,173.75                       0.00                             0.00              FA
    - Bk of America lift stay order 11/24/14 docket #60
 12. AR - CFN & MAN                                                        250,189.68                       1.00                             0.00                           1.00
    - Originally not scheduled
    - debtor amended to add per 11/24/15 amended schedules
    - MAN & CFN Ortho, PLLC in ch 7 at
      Case # 15-31368-bjh-7 and involved in same lawsuit
      described below at #13.




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                                 1                                         2                     3                 4               5                         6
                                                                                        Estimated Net Value
                                                                                         (Value Determined     Property                                 Asset Fully
                                                                        Petition/         by Trustee, Less     Formally        Sale/Funds           Administered (FA)/
                         Asset Description                             Unscheduled       Liens, Exemptions,   Abandoned        Received by       Gross Value of Remaining
              (Scheduled and Unscheduled (u) Property)                   Values           and Other Costs)    OA=554(a)         the Estate                Assets

   - Value listed at 1.00 per UST handbook guidelines which
      require a whole number estimate, but Valuation is an
      estimate to serve as a placeholder per UST guidelines
      and is not meant to reflect reality or limit demands or
      litigation in progress
 13. Lawsuit(s) - State of TX / Xerox                                       Unknown             123,456.78                               0.00                    123,456.78
   - debtor amended to add per 11/24/15 amended
     schedules
   - State court litigation : Cause No. D-1-GN-15-002055,
     pending in the 345th Judicial District Court of Travis
     County, Texas
    - - Valuation is an estimate to serve as a placeholder
      per UST guidelines and is not meant to reflect reality
      or limit demands or litigation in progress

                                                                                                                                                Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                      $1,046,987.56          $123,457.78                              $0.00                  $123,457.78
                                                                                                                                                  (Total Dollar Amount
                                                                                                                                                         in Column 6)

 _________________________________________________________________________________________________________________________
 Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

 - - Originally filed as chapter 11.
    Jointly administered under case 14-32499 during chapter 11 proceedings.
    Related cases are:
 14-32499 Navarro Orthodontix, P.C.
 15-31367 Car & Mar Ortho PLLC
 15-31368 Man & CFN Ortho, PLLC
 15-31369 Navarro Orthodontix of Fort Worth, PLLC
 15-31371 Navarro Orthodontix of McAllen, PLLC

 - - Converted to chapter 7 on 10/20/2015

 - - The trustee is holding no funds in this case.

 - - State Court litigation ongoing :

 Lawsuit against ACS State Healthcare n/k/a Xerox State Healthcare. The case number is
 D-1-GN-15-002055. There are 12 groups of plaintiffs. The Navarro entities are one group, and the
 Westmoreland entities are a second group. This is a complex case. The appointment of multiple
 chapter 7 trustees adds to the complexity and makes the administrative expenses 6x larger for the
 bankruptcy estates and causes disjointed administration.

 4/23/2020 updated status report from special counsel:



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 Handling this case has taken a huge amount of time and resources from all parties: The State in its
 case against Xerox; Xerox in its defense of the lawsuits by the State as well as the
 dentists/businesses we represent, and from our law firms as we advance your claims against
 ACS/Xerox. There have been millions of documents exchanged in discovery, requiring thousands of
 hours to catalogue and review. Certain questions in the cases have already been sent to the Texas
 Supreme Court, and it is expected that more issues will be sent to the Supreme Court before these
 cases are completed. We have taken over 40 depositions of State and ACS/Xerox employees so far, and
 we believe our initial allegations have been supported by the evidence and testimony adduced in
 these depositions and through written discovery.

 In 2019, we approached ACS/Xerox about the possibility of settling the dentists' cases against
 Xerox. Settlement was derailed when in February 2019, the State and Xerox entered into their own
 settlement of the State's larger claims against Xerox. That settlement essentially abated all
 discovery and settlement discussions in our cases, pending final and dismissal of the State's case
 against Xerox in August 2019.

 Upon dismissal of the State's claims in August, Xerox conferred with us and requested that its
 defense of the claims by various defendants be consolidated into a single action. That will
 probably occur, but we believe the time has come, and the evidence will be in hand, to begin filing
 dispositive motions on behalf of plaintiffs like Navarro Orthodontix of Edinburg. Upon receipt of
 specific claims and payment documents from the State (which will have to be compelled), we expect to
 begin filing those dispositive motions with an eye toward having those summary judgment matters
 heard in the third quarter of 2020.

 1/31/2021 update:

 Following a COVID-induced hiatus of all activities in 2020, discovery in the consolidated cases
 against Xerox has resumed, and five more fact witnesses— this time they were former employees of the
 dental practices — have been deposed in the past 2 months. While discovery and depositions are
 accelerating, disputes are still on hold because the judge assigned the cases was unseated inthe
 election. The cases have not been re-assigned to a new judge, so the filing and hearings on our
 plaintiffs’ dispositive motionsare also delayed pending a new assignment. The prior settlement
 offers from the dentists/practices to Xerox did not get a response from Xerox, and we believe that
 Xerox’s response is being muted until hearings and rulings on the dispositive motions are made.
 Thus, the plan is to get dispositive motions before the Court in late Q1 or Q2, and reopen
 settlement discussions with Xerox immediately after rulings are secured. Given the long time these
 cases have been pending, we are considering setting a test casefor trial late this year or early
 next year.

 1/31/22 update:

 There has been little or no change in the status of this case. The litigation against Xerox is
 pending in Travis County and there have not been any meaningful settlement discussions. Given the
 complexity of this case, the number of plaintiffs and the intervening Covid 19 disruption, it is
 difficult to predict the resolution of this case. Estimated date of closing 03/31/2023.



 - - Claims review / objections if assets recovered / many claims related to foreclosed assets

 - - Tax returns if assets recovered



PFORM1                                                                                                                                         Ver: 22.04a
